                                                           Case 2:21-cv-08230-JAK-E Document 44 Filed 12/14/21 Page 1 of 2 Page ID #:293



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                        A LIMITED LIABILITY PARTNERSHIP




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                                                                Attorneys for Plaintiff
                                                           16   WAG Acquisition, L.L.C.
                                                           17              IN THE UNITED STATES DISTRICT COURT FOR THE
                                                           18                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                        WESTERN DIVISION
                                                           19

                                                           20   WAG ACQUISITION, L.L.C., a New           CASE NO. 2:21-cv-08230 JAK(Ex)
                                                                Jersey limited liability company,
                                                           21                                            NOTICE OF ERRATA RE
                                                                                                         DOCKET ENTRIES FOR
                                                           22                  Plaintiff,                DEFENDANTS’ DEADLINE TO
                                                                                                         RESPOND TO COMPLAINT PER
                                                           23         v.                                 WAIVERS OF SERVICE OF
                                                                                                         SUMMONS
                                                           24
                                                                THE WALT DISNEY COMPANY, a
                                                           25   Delaware Corporation, and DISNEY
                                                                STREAMING SERVICES LLC, a
                                                           26
                                                                Delaware limited liability company        Complaint Filed: October 18, 2021
                                                           27                                             Trial Date: None
                                                                               Defendant.
                                                           28

                                                                                               NOTICE OF ERRATA
                                                           Case 2:21-cv-08230-JAK-E Document 44 Filed 12/14/21 Page 2 of 2 Page ID #:294



                                                            1            TO ALL PARTIES AND TO THEIR ATTORNEYS OF RECORD:
                                                            2   PLEASE TAKE NOTICE that, on November 29, 2021, plaintiff WAG ACQUISITION,
                                                            3   L.L.C. (“Plaintiff”) served Waivers of Service of Summons (“Waivers”) on defendants
                                                            4   THE WALT DISNEY COMPANY and DISNEY STREAMING SERVICES LLC
                                                            5   (“Defendants”). Those Waivers were signed and returned by Defendants and then
                                                            6   Plaintiff promptly filed them with the Court. Pursuant to those Waivers, Defendants’
                                                            7   responses to the complaint are due within 60 days from the service date, which is by
                                                            8   January 28, 2021. However, the docket instead incorrectly reflects that the deadline for
                                                            9   Defendants’ responses is March 1, 2022. Accordingly, Plaintiff is submitting this Notice
                                                           10   of Errata and refiling the Waivers so that a corrected docket entry for the deadline to file
                                                           11   Defendants’ responses to the complaint may be generated.
HILL, FARRER & BURRILL LLP



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                                                           12
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                                                           13   DATED: December 14, 2021                     HILL, FARRER & BURRILL LLP
                                                           14

                                                           15                                                By: /s/ William A. White
                                                                                                               William A. White
                                                           16                                                  Jeffrey B. Bell
                                                           17                                                  Attorneys for Defendant
                                                                                                               WAG ACQUISITION, L.L.C.
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                                                                                                      NOTICE OF ERRATA
